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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA



 IN RE: PORK ANTITRUST LITIGATION                    Civil No. 18-CV-1776 (JRT/JFD)

                                                              MDL No. 2998

This document relates to:
                                                       PRETRIAL ORDER NO. 1
ALL CASES                                         PRETRIAL CASE MANAGEMENT AND
                                                         SCHEDULING ORDER



       Pursuant to Rule 16 of the Federal Rules of Civil Procedure and the Local Rules of

this Court, and in order to secure the just, speedy, and inexpensive determination of this

action, the following schedule shall govern these proceedings.

       This schedule may be modified either upon formal motion or stipulation. Whether

by formal motion or by stipulation, good cause for the modification must be shown. D.

Minn. LR 16.3.1. Counsel must promptly notify the Court of developments in the case that

could significantly affect the case management schedule. Except in extraordinary

circumstances, a party must obtain a hearing date for a motion to amend this Scheduling

Order before the deadline that they wish to amend expires. See D. Minn. LR 16.3(d).

       This Order shall, unless superseded or modified by subsequent Order, govern all

actions transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant

to its Transfer Order of June 9, 2021, as well as any “tag-along” actions transferred to this




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Court by the Judicial Panel on Multidistrict Litigation pursuant to Rules 7.1 and 7.2 of the

Rules of Procedures of that Panel, and all related actions originally filed in this Court or

transferred or removed to this Court that become part of or consolidated with this

multidistrict litigation.

I.     PLEADINGS

       Current MDL DAPs 1 shall file a single consolidated complaint in this MDL within 30

days from entry of this Order. Defendants agree to accept service of process for the

consolidated complaint by ECF or by email. Defendants will answer or otherwise respond

to MDL DAPs’ consolidated complaint within 30 days from the filing thereof. To this

extent, and as set forth in this Order, Direct Action Plaintiffs’ Motion to Set Deadline for

Defendants to File Answers (Docket No. 1395) is GRANTED in part and DENIED in part.

       Within 30 days from entry of this Order, the parties shall file a proposed order

(1) governing the process by which any future MDL DAP shall join the consolidated

complaint, including a proposed short-form complaint if appropriate, and (2) governing

the process by which Defendants shall answer or otherwise respond to complaints filed

by any future MDL DAPs (or by which their prior answer to the consolidated complaint

shall apply to complaints filed by any future MDL DAPs).




1“Current MDL DAPs” refers to the Direct Action Plaintiffs in all cases that have been transferred
to this Court as part of this MDL proceeding as of the date of this Order.


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II.    DISCOVERY

       Subject to the terms and provisions of the Amended Protective Order (Docket No.

1155), all discovery taken or received from Defendants and third-parties in this MDL

proceeding may be used as if taken or received in the Preexisting Non-MDL Pork Cases,

and vice versa.

       The parties shall coordinate discovery with the Preexisting Non-MDL Cases and

avoid unnecessary duplication and inefficiency. Magistrate Judge Docherty’s Practice

Pointers, which are periodically revised, are available on the United States District Court

for the District of Minnesota’s website. Those Practice Pointers contain useful

information, including some variances from the Local Rules.

       The deadline for the completion of fact discovery for all cases and parties—

whether commenced 2 before or after entry of this Order—is October 31, 2022. This

deadline includes but is not limited to completion of all discovery events the parties

included in their proposed scheduling order: (1) Defendants to serve initial Rule 33 and

Rule 34 Requests and to serve proposed search terms; (2) Defendants to provide the

search terms Defendants have already used to search for responsive documents, and to

produce documents and structured data already produced in the Pre-Existing Non-MDL




2For purposes of this Order a new MDL DAP case is “commenced” when it is either filed in this
Court, or upon its effective transfer to this Court, which occurs, consistent with JPML Rule 2.1(d),
when an order to transfer pursuant to 28 U.S.C. § 1407 issued by the JPML is filed with the clerk
of this Court as the transferee district court.


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Cases; (3) MDL DAPs to disclose keyword search tools and/or TAR/CAL tools; (4) MDL

DAPS to serve any plaintiff-specific and new proposed search terms to Defendants; 3 (5)

MDL DAPs to make Rule 26(a) disclosures and additional required disclosures; 4 (6) MDL

DAPs to propose document custodians and non-custodial document sources; (7) MDL

DAPs’ objections and responses to initial Rule 33 and 34 requests; (8) parties to resolve

any disputes over the keyword search terms, document and data sources, or search

methodology the MDL DAPs and Defendants will use or to raise disputes with the Court;

(9) commencement of rolling production of documents by MDL DAPs; (10)

commencement of Defendants’ rolling production of documents responsive to plaintiff-

specific and new search terms; (11) substantial completion of structured-data

productions by MDL DAPs, and by Defendants in response to additional structured data

requests by MDL DAPs agreed to by Defendants or ordered by the Court; and (12)

substantial completion of document productions by MDL DAPs and by Defendants in

response to MDL DAPs’ plaintiff-specific and new proposed search terms agreed to by




3 Defendants reserved the right to argue that the search terms, scope of structured data, and
other discovery limitations and discovery agreements from the Preexisting Non-MDL Pork Cases
that were negotiated with the Classes, Commonwealth of Puerto Rico, and Direct Action Plaintiffs
Winn-Dixie and Bi-Lo Holdings should be adopted in the MDL absent good cause to reopen those
negotiations with respect to MDL DAPs. This Order does not assume that additional structured
data requests or new proposed search terms will necessarily be deemed proportional to the
needs of the case. (Minutes, Dec. 17, 2021, Docket No. 1074; IDR Tr., Dec. 22, 2021, Docket No.
1082.)
4The MDL DAPs shall provide the same disclosures required by the February 7, 2019 Order
Regarding Disclosure of Information. (Order, Feb. 7, 2019, Docket 290.)


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Defendants or ordered by the Court. 5 Because of the approaching deadline, parties are

directed to notify the Court as soon as practicable if they anticipate that any part of

discovery cannot be completed by this deadline in order to set a new deadline.

       A.      Interrogatories

       All Plaintiffs, including MDL DAPs, may jointly serve 25 interrogatories on each

Defendant family 6 In addition, each Plaintiff Class (DPPs, CIIPPs, and IIPs), and Direct

Action Plaintiffs as a group, (including MDL DAPs and DAPs that filed prior to creation of

the MDL) shall separately have 5 interrogatories they may serve on each Defendant family

(i.e., DAPs collectively may serve 5 interrogatories in total on each Defendant family, in

addition to 25 interrogatories by all Plaintiffs collectively on each Defendant family).

Plaintiffs will coordinate efforts to avoid serving duplicative or unduly burdensome

interrogatories.

       Defendants may jointly serve 25 interrogatories on each MDL DAP family.

Defendants will coordinate efforts to avoid serving duplicative or unduly burdensome

interrogatories.


5 The MDL DAPs in the MDL as of December 10, 2021, and Defendants agreed to certain search
terms to be applied to Defendants’ data, as described in the parties’ Informal Dispute Resolution
request and response (Docket Nos. 1022 and 1035). These MDL DAPs and Defendants also
agreed to certain search terms to be applied to certain these MDL DAPs’ data. The parties
therefore agreed that production of documents based on search terms agreed to as of the date
of this Order would be substantially complete by January 31, 2022. To the extent that this did
not occur and still has not occurred, the parties are directed to notify the Court as soon as
practicable in order to set a new deadline.

6 A “defendant family” is defined in Appendix A, attached to the parties’ Rule 26(f) Report. (Rule
26(f) Report at 5, 27, Dec. 11, 2020, Docket No. 569.)


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       B.     Rule 34 Document Requests

       Consistent with Fed. R. Civ. P. 34, there shall be no limits on the number of requests

for production the parties may serve, although the parties may propound only a

reasonable and appropriate number of requests for production. The parties must serve

requests for production at least 60 days prior to the close of fact discovery. Plaintiffs may

jointly serve requests on each Defendant family. Defendants may jointly serve requests

to produce on each MDL DAP family. The parties shall endeavor to avoid duplicative or

unduly burdensome Document Requests.

       C.     Requests for Admission

       The parties will meet and confer in good faith to determine if a stipulation can be

agreed to concerning various evidentiary issues addressed in the Federal Rules of

Evidence (“FRE”), including authenticity (FRE 902 & 903), duplicates (FRE 1001(4) & 1003),

the requirement for a sponsoring witness to establish authenticity or best evidence, and

status of a document as a business record (FRE 803(6)). To assist the parties in resolving

such evidentiary issues via stipulation rather than serving requests for admission, the

parties should know that this Court presumes that a document is authentic if it was

produced from a party’s files, unless a party makes a showing of good cause to the

contrary. For any documents for which the parties cannot agree upon a stipulation, a

party may serve, without limitation, any necessary requests for admission to address any

potential evidentiary objections.




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          With respect to non-evidentiary issues set forth in the paragraph above, Plaintiffs

collectively, including the MDL DAPs, may jointly serve 75 requests for admission on each

Defendant family.

          The MDL DAPs shall coordinate efforts with the Plaintiffs in the Preexisting Non-

MDL Pork Cases to avoid serving duplicative or unduly burdensome requests for

admission. Defendants may jointly serve 75 requests for admission on each MDL DAP

family.

          D.    Depositions

          Consistent with this Court’s Pretrial Scheduling Order in the Preexisting Non-MDL

Pork Cases (see Docket No. 658 at 6), the MDL DAPs and Plaintiffs in the Preexisting Non-

MDL Pork Cases may collectively: (i) depose up to 10 percipient witnesses from each

Defendant family pursuant to Federal Rule of Civil Procedure 30(b)(1); and (ii) notice one

Rule 30(b)(6) deposition on each Defendant family. More depositions may be permitted

by Court order if the MDL DAPs can demonstrate good cause to exceed that number.

          Defendants collectively may take two depositions of each MDL DAP family. One of

the two depositions may be a Rule 30(b)(6) deposition. More depositions may be

permitted if the Defendants can demonstrate good cause to exceed that number.

          All other provisions of the Pretrial Scheduling Order in the Preexisting Non-MDL

Pork Cases pertaining to depositions of Plaintiffs and Defendants in those cases (see

Docket No. 658 at 6–7) shall also apply to the parties in this MDL proceeding.




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       E.     Third Party Discovery

       Absent good cause to the contrary, all third-party subpoenas must be served in

sufficient time, taking into account the nature and volume of the material requested, to

allow for resolution of reasonably anticipated disputes and production of the material

requested no later than the deadline for the completion of all fact discovery. In no event

shall third-party subpoenas be served less than 45 days prior to the deadline for

completion of fact discovery.

       Plaintiffs and Defendants agree to give each side notice, 3 business days in

advance, of the issuance of a third-party subpoena and to exchange all third party

productions within 14 days of receipt of the productions or at least 14 days before the

deposition of the producing third party, whichever is earlier.

       F.     Discovery In Future DAP Cases

       A Direct Action Plaintiff who files on or after October 31, 2022 (“New DAP”) will

not be permitted to serve new discovery on Defendant(s) absent court order or

agreement of the parties involved. Prior to filing a motion, such New DAP must (1) review

the discovery that has already been taken and undertaken in the DAP and Preexisting

Non-MDL Pork Cases, (2) provide Defendant(s) with a draft of the additional discovery it

wishes to serve, and (3) meet and confer with Defendant(s) to discuss whether and to

what extent additional discovery is needed, taking into consideration the proportionality

factors of Fed. R. Civ. P. 26(b). If the parties do not resolve the dispute, the onus will be




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on the New DAP to promptly bring a motion seeking leave to serve new discovery on

Defendant(s).

III.   NON-DISPOSITIVE MOTIONS

       When possible, the parties should bring discovery disputes to the Court using the

Court’s process for informal dispute resolution (IDR). One or both parties can contact the

Court via phone or email to set a prompt (usually within 2-3 business days) telephone

conference to discuss the issues. Two days before the hearing, the parties shall email (not

file) the Court either a joint letter setting forth their respective positions or separate

letters. If the parties submit separate letters, they must serve a copy on the opposing side

unless they have received prior permission from the Court to submit the letters ex parte.

Letters should be concise (not more than two or three single-spaced pages) and focus on

narrowing the issue in dispute as much as possible. Both sides must agree to use the

informal process to resolve discovery disputes. If either side objects to using this process,

a formal motion must be filed.

       If formal non-dispositive motions are filed, they must comply with the Electronic

Case Filing Procedures for the District of Minnesota, with Local Rules 7.1 and 37.1. Judge

Docherty prefers not to receive courtesy copies, unless the motions contain or refer to

documents that are not filed on ECF, in which case those documents should be emailed

to Docherty_chambers@mnd.uscourts.gov. All non-dispositive motions shall be

scheduled for hearing by calling the Judicial Assistant to Magistrate Judge Docherty, at




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651-848-1180, prior to filing, except when all parties are in agreement that no hearing is

required. Such an agreement shall be expressly set forth in the notice of motion. Counsel

are advised not to notice additional motions for hearing on an already existing hearing

date without first contacting the Court for permission to do so.

      A “meet and confer” requirement applies to both IDR and formal motion practice.

Parties must attempt to confer through personal contact (in person, by telephone, or by

video conference), rather than solely through written correspondence or email. Whether

parties raise non-dispositive disputes informally or through traditional motions, the

parties must engage in a focused meet and confer process in a sincere effort to resolve or

narrow the disagreement.

      1.    All non-dispositive motions and supporting documents, other than those
            seeking to amend or supplement the pleadings or relating to expert
            discovery, must be filed and served on or before October 31, 2022. This
            includes motions relating to fact discovery and motions to amend this
            Scheduling Order.

      2.    All non-dispositive motions and supporting documents that relate to
            discovery pertaining to class certification experts must be filed as soon as
            possible after a good faith attempt to resolve the dispute through meet and
            confer efforts. All non-dispositive motions and supporting documents that
            relate to discovery pertaining to trial experts must be filed and served on or
            before the deadline for completion of expert discovery.

IV.   DEADLINES FOR EXPERT DISCOVERY AND SUMMARY JUDGMENT MOTIONS

      The parties shall meet and confer and present to the Court at the next case

management conference a proposed schedule for trial expert disclosures and discovery,

and for summary judgment motions.



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V.      CASE MANAGEMENT CONFERENCE

        United States District Judge John R. Tunheim and Magistrate Judge John F.

Docherty will hold a Case Management Conference on October 17, 2022, at 10:00 A.M.,

U.S. Central Time, in Courtroom 14E of the Diana E. Murphy U.S. Courthouse, 300 South

Fourth Street, Minneapolis, MN 55415. The parties shall prepare a submission to the

Court to be filed no later than October 13, 2022, which addresses the following issues:

     1. An overview of the procedural status of all actual and potential cases that have

        been or are anticipated to be transferred to or filed in this district for coordination

        with this MDL;

     2. An overview of the status of discovery in all related cases to date;

     3. An overview of the status of any motions, orders, or other events of import in all

        related cases to date;

     4. The status of any related state-court litigation, if any, to date;

     5. A description of any settlement efforts to date;

     6. A proposed agenda for the Case Management Conference;

     7. A list of all counsel of record for each Plaintiff, Class, Defendant, or group of parties

        sharing common representation, including any monikers used to identify particular

        groups of parties, if any;

     8. A proposed leadership structure for Class Plaintiffs’ counsel, Direct Action

        Plaintiffs’ counsel, and Defendants’ counsel. The proposed leadership structure




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      should propose a slate of individuals to lead each group, as well as a steering

      committee for the litigation as a whole and liaison counsel for coordination with

      the Court. Recommendations to the Court shall be accompanied by each

      nominee’s resume or curriculum vitae, educational background, licensing status, a

      description of relevant experience, a brief overview of the resources the counsel

      has available to contribute to the litigation; and a certificate of good standing from

      the highest court from the individuals’ jurisdiction. These recommendations

      should not be filed with the Clerk of Court, but instead should be submitted to the

      Court via email. Certificates of good standing need not be submitted by October

      13, 2022, but must be submitted as soon as practicable thereafter;

   9. A proposal for harmonizing the pretrial schedules governing the DAPs and the

      other Plaintiff groups; and

   10. A schedule of status conferences to be conducted approximately every 30 days via

      ZoomGov for the remainder for the 2022 calendar year and 2023 calendar year,

      notwithstanding the parties’ ability to ask that any given status conference be

      cancelled or postponed closer to that date.


Dated: October 4, 2022                                             _________________
at Minneapolis, Minnesota                     JOHN R. TUNHEIM
                                              United States District Judge




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